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  On May 15, 2024, Plaintiff filed a Complaint and a Request to Proceed In Forma Pauperis. (ECF Nos. 1, 3.)
  Plaintiff labels the case as an action for "Patent Infringement." (ECF No. 1 at 1.) Defendant allegedly "has
  taken away all access to the Internet, including the public library" and "shuts down and crashes all personal
  devices and PC." (Id. at 2.) Defendant also allegedly "merged [Plaintiff's] source code with [his] father['s]
  source code, so [Defendant] could continue controlling [Plaintiff] and crashing [his] devices and taking
  away all Internet access." (Id. at 3.) As a result, Plaintiff allegedly cannot look for work, and four years of
  his life have been taken. (Id.) Defendant allegedly "block[ed] HR department links, corrupted] [Plaintiffs]
  devices, then shut them down. This is all a game to them." (Id.) Plaintiff seeks access to the Internet and
  damages. (Id. at 4-5.)

  Because Plaintiff seeks to proceed in forma pauperis, the Court has reviewed the Complaint to determine
  whether the action is frivolous or malicious; fails to state a claim upon which relief maybe granted; or seeks
  monetary relief against a defendant who is immune from such relief 28 U.S.C. 4 1915(e)(2)(B). As
  explained below, the Complaint is dismissed without leave to amend.

  First, the Complaint is frivolous because it is duplicative of a Complaint that previously was dismissed as
  frivolous. See Cato v. United States, 70 F.3d 1103, 1105 n.2(9th Cir. 1995)(complaint is frivolous if it
  repeats previously litigated claims). The Court dismissed a highly similar Complaint in Case No. 824-
  ~v-oosso-cJc-ADs.

  Second, the Complaint is factually frivolous. When read together, Plaintiff's allegations of a years-long
  scheme to control and block his devices, as part of"a game," are "clearly baseless" or "fanciful." Denton v.
  Hernandez, 504 U.S. 25, 32-33 (1992). In that circumstance, the Court may "pierce the veil of the
  complaint's factual allegations" and "is not bound, as it usually is when making a determination based solely
  on the pleadings, to accept without question the truth of the plaintiff's allegations." Id. at 32; see also Bator
  v. State of Hawaii, 39 F.3d 1021, 1026 (9th Cir 1994)("Denton is an exception to the general rule that a
  district court must accept factual allegations as true."). Here,"a finding of factual frivolousness is
  appropriate [because] the facts alleged rise to the level of the irrational or the wholly incredible, whether or
  not there are judicially noticeable facts available to contradict them." Denton, 504 U.S. at 33.

  Third, the Complaint fails to state a claim on which relief maybe granted. Although Plaintiff labels this case
  as a "patent infringement" action, the Court is not bound by that characterization. "[W]e look beyond [the
  complaint's] characterization to the conduct on which the claim is based." Bla~and v. Commonwealth
  Director of Public Prosecutions, 323 F.3d 1198, 1203-04(9th Cir. 2003)(citation omitted). The allegations
  of conduct on which the claim is based are frivolous and do not suggest patent infringement or any other
  legal theory that would be cognizable in federal court.

  Finally, given these deficiencies, leave to amend is not warranted. See Lopez v. Smith, 203 F.3d 1122, 1127
  n.8 (9th Cir. 2000)(en banc)("When a case maybe classified as frivolous or malicious, there is, by
  definition, no merit to the underlying action and so no reason to grant leave to amend."); Lockheed Martin
  Corp. v. Network Solutions, Inc., 194 F.3d 980,986 (9th Cir. 1999)(amendment was futile where there was
  no cause of action); Huffman v. Smith, 172 F.2d 129, 130 (9th Cir. 1949)(explaining that the in forma
  pauperis statute permits a federal court to refuse commencement of an action "if it appear that tl~e applicant
  has no cause of action"). Thus, the Complaint is dismissed without leave to amend, and the action is
  dismissed with prejudice.


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CV-73(0782)                   ORDER ON REQUEST T                          RMA    UPERIS(NON-PRISONER CASE)
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  Pro Se 2 (Rev. 12/l6) Complaint and Request for Injunction



  VI.       Certification and Closing

            Under Federal Rule of Civil Procedure 11, by signing below,Icertify to the best of my knowledge, information,
            and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
            unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
            nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
            evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
            opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
            requirements of Rule 11.

            A.         For Parties Without an Attorney

                      I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                      served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                      in the dismissal of my case.

                       Date of signing:              ~/ - (7- ~tedi'~

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                       Signature of Plaintiff
                       Printed Name of Plaintiff               B ~ ~an             ~   E-{o \'t' ~Co~ /Y~ t7

           B.          For Attorneys


                       Date of signing:


                       Signature of Attorney
                       Printed Name of Attorney
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                      Name of Law Firm
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  When screening a complaint under 28 U.S.C. 4 1915, the Court must identify cognizable claims and dismiss
  claims that are frivolous, malicious, fail to state a claim on which relief maybe granted or seek monetary
  relief from a defendant who is immune from such relief. 28 U.S.C. 4 1915(e)(2). Dismissal for failure to
  state a claim under § 1915(e)(2) incorporates the standard for failure to state a claim under Federal Rule of
  Civil Procedure 12(b)(6). Watison v. Carter, 668 F.3d 1108, 1112 (9th Cir. 2012). To survive 4 1915 review,
  a complaint must "contain sufficient factual matter, accepted as true, to state a claim to relief that is
  plausible on its face." Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The court liberally construes pro se
  complaints and may only dismiss them "if it appears beyond doubt that the plaintiff can prove no set of facts
  in support of his claim which would entitle him to relief." Nordstrom v. Ryan, 762 F.3d 903, 908 (9th Cir.
  2014).

  In this case, Plaintiff appears to assert that "Mozilla Foundation" has, for the past four years, not allowed
  him to use the Internet because the Firefox browser "corrupt[s] and shuts] off [his] personal devices." (Dkt.
  1.) He claims that, despite being indigent and unhoused, he has "285 personal devices, 50 laptops, 50 tablets,
  50 chromebooks." (Id. at 4.) According to Plaintiff, this has made it impossible for him to find a job. (Id.)

  Plaintiffs allegations are fanciful and frivolous. Plaintiff asserts that Defendant uses "Augmented Reality,"
  which "actively makes a connection with [his] retina. No two are the same. No matter where [Plaintiff is]
  they ID [him] from any device anywhere. In less than 5 seconds [they] shut off and crash [his]
  devices." (Id. at 5.) The relief he seeks from the Court is to "share the same harsh unfair unacceptable
  condition to them." (Id.) Because Plaintiffs claim is frivolous and fails to state a claim on which relief may
  be granted, his case must be DISMISSED. See 28 U.S.C. § 1915(e)(2); Anderson v. Sy, 486 F. App'x 644 (9th
  Cir. 2012) ("The district court properly dismissed Anderson's action as frivolous because the complaint
  contains indecipherable facts and unsupported legal assertions."). "Dismissals on these grounds are often
  made sua sponte prior to the issuance of process, so as to spare prospective defendants the inconvenience
  and expense of answering such complaints." Neitzke v. Williams, 490 U.S. 319, 324 (1989) (internal citation
  omitted).




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CV-73 (07/22)                   ORDER ON REQUEST TO PROCEED INFORMA PAUPERIS (NON-PRISONER CASE)
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                                                UNITED STATES DISTRICT COURT
                                               CENTRAL DISTRICT OF CALIFORNIA
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                                                         PLAINTIFFS)
                                 v.

MOZILLA FOUNDATION                                                                    ORDER ON REQUEST TO PROCEED
                                                                                           IN FORMA PA UPERIS
                                                      DEFENDANTS)                        (NON-PRISONER CASE)

The Court has reviewed the Request to Proceed In Forma Pauperis(the "Request") and the documents submitted with it. On the
question of indigenry,the Court finds that the party who filed the Request:
         is not able to pay the filing fees.      ~ is able to pay the filing fees.
         has not submitted enough information for the Court to tell if the filer is able to pay the filing fees. This is what is missing:




IT IS THEREFORE ORDERED that:
         The Request is GRANTED.
         Ruling on the Request is POSTPONED for 30 days so that the filer may provide additional information.
     ~ The Request is DEI~TIED because the filer has the ability to pay.
         As eacplained in the attached statement, the Request is DENIED because:
            The District Court lacks ~ subject matter jurisdiction ~ removal jurisdiction.
          ~ The action is frivolous or malicious.
            The action fails to state a claim upon which relief may be granted.
            The action seeks monetary relief against defendants)immune from such relief.


IT IS FURTHER ORDERED that:
     ~ Within 30 days of the date of this Order,the filer must do the following:




         Ifthe filer does not comply with these instructions within 30 days,this case will be DISMISSED without prejudice.
         As explained in the attached statement, because it is absolutely clear that the deficiencies in the complaint cannot be cured by
         amendment,this case is hereby DISMISSED ~WITHOUT PREJUDICE ❑WITH PREJUDICE.

         This case is REMANDED to state court as explained in the attached stateme t.


                 May 1,2024                    ~~~~' _     (,/

                Date                                                             United States Distri Judge
CV-73(07/22)                   ORDER ON REQUEST TO PROCEE                     PAUPERIS(NON-PRISONER CASE)
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 Pro Se 2(Rev. 12/16)Complaint and Request for ln iunction


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                     Defendant No. 2
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                     Defendant No. 3
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Case 8:24-cv-01285-JWH-ADS Document 27 Filed 08/05/24 Page 19 of 26 Page ID #:161
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  Pro Se 2(Rev. 12/16)Complaint and Request for In j unction



                                          UNITED STATES DISTRICT COI                                                         I~PR 17 PM 3~ 38
                                                                                    for the                            CLERK U.S. ~!i FRlCT COURT
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                                                   Cc,~                       District of ~v.~ ~       $i~}a~ qN~
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                                                                                          Division                     RY ~ . ,.d~°'~-'-E~          ..----



                                                                                              Case No.         ~— ~jV~ 7J (j~~S~ '"~-~rJL—~~
                                                                                                                 (to be filled in by the Clerk's Office)
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                              Plainl~(s)
 (Write the ful! name ojeachplainliJ)`'who isfiling this complaint.
 rthe names of a!! the plaintiffs cannot jl in the space above,
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 pleose write "see attached" in the space and attach an additional
 page with the full list ofnames.)
                                   -V-




f~~I~~,~ ~ ~v r~c~, ~1
                              Defendan!(s)
 (Write the fu!! name of each dejendanl who u being sued. If the
 names of all the defendants cannot fit in the space above, please
 write "see attached" in the space and attach an additionalpage
 with the ju/! lis! oJnames.)



                                     COMPLAINT AND REQUEST FOR INJUNCTION


I.           The Parties to This Complaint
             A.       The Plaintiffs)

                      Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                      needed.
                                 Name
                                                                             Fjc^ Lai l~                     ~'a ~ ~~'~/`~
                                 Street Address
                                 City and County                             ~                                                 Q ~~
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           B.         The Defendants)

                      Provide the information below for each defendant named in the complaint, whether the defendant is an
                      individual, a government agency, an organization, or a corporation. For an individual defendant,
                      include the person's job or title (ijknown). Attach additional pages if needed.

                                                                                                                                                              Page I of 6
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   Pro Se 2(Rev. 12116) Complaint and Rcquest for [njunction




                                  b.         If the defendant is a corporation
                                             The defendant, (name)                                       , is incorporated under
                                             the laws of the State of(,u,ne)                                       ,and has its
                                             principal place of business in the State of (►tame)
                                             Or is incorporated under the laws of (foreign nation)
                                             and has its principal place of business in (►~me)


                                  (If more than one defendant is named in the complaint, attach an additional page providing the
                                  same informationfor each additional defendant.)

                                  The Amount in Controversy

                                  The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
                                  stake—is more than $75,000, not counting interest and costs of coart, because (explain):




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                                so
  III.       Statement of Claim1'p~.~b L~[_ -`
                                       ~o c~-~~~"~~~
            Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
            facts showing that each plaintiff is entitled to the injunction or other relief sought. State how each defendant
            was involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights,
            including the dates and places of that involvement or conduct. If more than one claim is asserted, number each
            claim and write a short and plain statement of each claim in a separate paragraph. Attach additional pages if
            needed.




                                                                                                 y
             A.        Where did the events giving rise to your claims) occur?

                     ~~ °~ ~                                        e ~,~~~
                                            ~                   y ~
            B.         What date and approximate time did the events giving rise to your claims) occur?       v
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  Pro Se 2 (Rev. l2/16) Complaint and Request for Injunction


 II.        Basis for Jurisdiction

            Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
            heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
            parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
            is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
            another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
            diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

            What is he basis for federal court jurisdiction? (check allrharapp/y)
                        Federal question                                ❑ Diversity of citizenship


            Fill out the paragraphs in this section that apply to this case.

            A.        If the Basis for Jurisdiction Is a Federal Question

                      List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                      are at issue in this case.




            B.        If the Basis for Jurisdiction Is Diversity of Citizenship

                                 The Plaintiffs)

                                 a.         If the plaintiff is an individual
                                            The plaintiff, (,wme~                                                                is a citizen of the
                                            State of(,wme)


                                 b.         If the plaintiff is a corporation
                                            The plaintiff, (name)                                                                is incorporated
                                            under the laws of the State of(name)
                                            and has its principal place of business in the State of(~wme)



                              (Ifmore than one plaintiffis named in the complaint, attach an additional page providing the
                              same informationfor each additional plaintiff.)

                     2.         The Defendants)

                                a.         If the defendant is an individual
                                           The defendant, (name)                                                               , is a citizen of
                                           the State of Game)                                                              Or is a citizen of
                                          (foreign patron)


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  Pro Se 2 (Rev. 12/l6) Complaint and Request for Injunction


            C.          What are the facts underlying your claim(s)? (For example: What happened to you? who did whar?
                        Was anyone else involved? Who else saw what happened?)                                                           ~




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 IV.        Irreparable Injury

            Explain why monetary damages at a later time would not adequately compensate you for the injuries you
            sustained, are sustaining, or will sustain as a result of the events described above, or why such compensation
            could not be measured.                                                                                                                               r




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 V.        Relief      ~                /Y~~~                  ~~          ~ dL`~0~~                             ~~ ~~J~ ~~\ U

           State-brieflY d'PreciselYrwh~  damag~esb~o'!4e~e       tit~laintiff
                                                                      p        asks the court to order. Do not make legal
           arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
           the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
           punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
           punitive money damages.


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 Chris Ridder    I HOLTKAMP V MOZILLA        1/ 1                7/29/24
 pu info:________________________________ _____________________ _________ _______

Ridder Costa & Johnstone LLP                    BOL#ready at oc of        7/29/24
440 N Barranca Avenue
COVINA            CA   91723                     DROP SERVE TODAY
650 466-0336              Zns:500/500            ASAP
                 Rm:Suite 7550
                                                                 ** RE-PRINT **
del info:______________________________________________________
Brian G. Koltkamp (Pro Se)                                       7/29/24
2624 Freeman Lane
SANTA ANA         CA   92706
                           Zns:327/52                           To:15:42

                                                      7/29/24     09:42     Yes       ???


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